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             EXHIBIT 13
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10   Attorneys for Defendant Thomson SA
11

12                                UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

14                                     SAN FRANCISCO DIVISION
15   IN RE CATHODE RAY TUBE (CRT)                      No. 07-cv-5944-SC
     ANTITRUST LITIGATION                              MDL No. 1917
16
                                                       AMENDED ANSWER OF THOMSON SA
17   This Document Relates to:                         TO VIEWSONIC CORPORATION’S
                                                       COMPLAINT
18   J/iewSonic Corporation v. Chunghwa Picture
19   Tubes, Ltd., et al., No. 14-cv-02510

20

21          Defendant Technicolor SA, f/k/a Thomson SA ("Thomson SA"), by and through its

22   undersigned counsel of record, answers ViewSonic Corporation’s ("Plaintiff’) Complaint and

23   alleges additional or affirmative defenses as follows. Thomson SA denies each and every allegation

24   in the Complaint’s section headings and in all portions of the Complaint not contained in numbered

25   paragraphs. To the extent that the Complaint’s allegations concern persons or entities other than

26   Thomson SA, Thomson SA denies that such allegations support any claim for relief against

27   Thomson SA, Thomson SA denies any allegations not explicitly admitted herein.

28
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 1           1.      Thomson SA denies the allegations in Paragraphs 11, 12, 59, 63, 86, and 140 of

 2   Plaintiff’s Complaint. To the extent these paragraphs consist of definitional allegations, no

 3   response is required and Thomson SA therefore denies them.

 4          2.       To the extent that the allegations in Paragraphs 1, 2, 4 through 7, 10, 13 through 16,

 5   64, 65, 66, 72 through 75, 83, 84, 85, 87 through 90, 92, 94, 97, 98, 101 through 132, 165, 169, 170,

 6   172, 173, 174, 184, 185, 194, 195, 196, 207, 211, 212 through 227, 229 through 232, 234 through

 7   239, and 241 through 248 of Plaintiff’s Complaint relate to persons or entities other than Thomson

 8   SA, Thomson SA lacks knowledge or information sufficient to form a belief about their truth and

 9   therefore denies them. To the extent the allegations in those paragraphs relate to Thomson SA,

10   Thomson SA denies them unless expressly admitted below. Further, Thomson SA denies that it

11   manufactured CRTs or CRT Products, but admits that Thomson Consumer manufactured CPTs and

12   CPT Products. Thomson SA admits on information and belief that other companies alleged to be

13   conspirators in the Complaint have manufactured CPTs and CDTs, but denies that Thomson SA

14   engaged in any conspiracy. To the extent the allegations in those paragraphs purport to define

15   markets or market activity which require expert opinion and testimony, Thomson SA denies them.

16   To the extent the allegations in those paragraphs are definitional allegations, no response is required

17   and Thomson SA therefore denies these allegations.

18           3.      Thomson SA lacks knowledge or information sufficient to form a belief about the

19   truth of the allegations in Paragraphs 17, 18 through 54, 60 through 62, 67 through 71, 77, 81, 82,

20   91, 93 95, 96, 99, 100, 141 through 160, 186 through 190, 192, 198 through 201, 204, 209, and 238

21   of Plaintiff’s Complaint and therefore denies them.

22          4.       To the extent that the allegations in Paragraphs 9, 161 through 164, 166, 167, 168,

23   171, 176 through 182, 191, 193, 197, 202, 203, 205, 206, 208, 210, and 233 of Plaintiff’s Complaint

24   purport to characterize written documents, Thomson SA denies that Plaintiff has accurately or

25   completely interpreted, characterized, or stated the substance or context of the written documents

26   and therefore denies these allegations. To the extent those paragraphs contain additional allegations

27   that relate to persons or entities other than Thomson SA, Thomson SA lacks knowledge or

28   information sufficient to form a belief about their truth and therefore denies them. To the extent
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 1   those paragraphs contain allegations that relate to Thomson SA, Thomson SA denies them unless

 2   expressly admitted below. To the extent the allegations in those paragraphs purport to define

 3   markets or market activity which require expert opinion and testimony, Thomson SA denies them.

 4          5.      Thomson SA admits that the allegations in Paragraphs 76, 78, 79, and 80 purport to

 5   contain descriptions of CRT technology and history. Thomson SA denies that these allegations

 6   completely and accurately describe all variants of CRT technology and therefore denies them. To

 7   the extent the allegations in those paragraphs purport to define markets or market activity which

 8   require expert opinion and testimony, Thomson SA denies them.

 9          6.      With regard to the allegations in Paragraphs 3 of Plaintiffs’ Complaint, Thomson SA

10   denies that it controlled the "majority of the CRT industry" during the relevant period. Thomson

11   SA lacks knowledge or information sufficient to form a belief about the truth of the other

12   allegations in Paragraphs 3 and therefore denies them.

13          7.      With regard to the allegations in Paragraph 8 of Plaintiff’s Complaint, Thomson SA

14   admits that European, Mexican and Brazilian authorities have investigated Thomson SA, but denies

15   that those investigations have any relation to the United States CRT market or have alleged or found

16   violations of United States antitrust laws. Thomson SA further admits that Thomson Consumer was

17   subpoenaed by the Department of Justice, but states that Thomson Consumer has not been subjected

18   to any criminal enforcement actions in the United States or ever entered into a plea agreement with

19   the Department of Justice. Thomson SA is aware that several individuals, including C.Y. Lin, have

20   been indicted for violations of antitrust laws, but denies that it participated in any price-fixing

21   conspiracy with these individuals, or that the actions of those individuals had any relation to the

22   allegations concerning Thomson Consumer’s activities in the United States CPT market. Thomson

23   SA denies any remaining allegations in Paragraph 8.

24          8.      With regard to the first three sentences of Paragraph   55, Thomson SA admits that it

25   is a French corporation with its principal place of business located at 1-5 Rue Jeanne d’Arc, 92130

26   Issy-les-Moulineaux, France, but denies that Thomson SA ever manufactured, marketed, sold, or

27   distributed CRT products to customers in the United States and denies the remaining allegations in

28   the first three sentences. Thomson SA denies the allegations in the fourth sentence. To the extent
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 1   that the allegations in the fifth through tenth sentences purport to characterize a written document,

 2   Thomson SA denies that Plaintiffs accurately or completely interpreted, characterized, or stated the

 3   substance or context of the written document, and therefore denies those allegations except as

 4   expressly admitted herein. With regard to the fifth sentence, Thomson SA admits that it sold its

 5   CRT business to Videocon Industries, Ltd. in 2005 for 240 million. With regard to the sixth

 6   sentence, Thomson SA admits that it invested 240 million in Videocon Industries, Ltd. in 2005 in

 7   exchange for 28,867,200 shares of stock, but denies that the investment was "simultaneous" and

 8   denies the remainder of the allegations in that sentence. Thomson SA states that the seventh

 9   sentence is vague and ambiguous with respect to "help," "run the CRT business," and "transition

10   period," and therefore denies the allegations in that sentence. Thomson SA lacks information or

11   belief sufficient to form a belief about the truth of the allegations in the eighth sentence, despite

12   diligent efforts to locate relevant documents, and therefore denies these allegations. Further,

13   Thomson SA states that the references to "Thomson" in the seventh and eighth sentences of

14   Paragraph 23 are vague and ambiguous, and therefore denies the allegations in those sentences to

15   the extent not expressly admitted herein. With regard to the ninth sentence, Thomson SA admits

16   that Section 3.1 of the Shareholders’ Agreement between Thomson SA and Videocon provided that

17   "One member of the Board of Directors shall be nominated by Thomson," and admits that a

18   Thomson SA employee held a seat on the Videocon Board of Directors until 2009. With regard to

19   the tenth sentence, Thomson SA admits that it was a minority shareholder in Videocon affiliated

20   entities from July 2005 through the end of the Relevant Period, but otherwise denies that Plaintiffs’

21   allegations completely and accurately describe Thomson SA’s stock ownership in Videocon

22   affiliated entities during that time period. Thomson SA denies that its ownership interest in

23   Videocon at any point during the allegedly Relevant Period is legally significant in relation to the

24   claims alleged in the Complaint. Thomson SA admits that it changed its name to Technicolor SA

25   on or about January 2010. Thomson SA denies the allegations in the twelfth sentence of Paragraph

26   55. Except as specifically admitted herein, Thomson SA denies the remaining allegations of

27   Paragraph 55 in their entirety.

28
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             9.      With regard to the first four sentences of Paragraph 56, Thomson SA admits that

 2   Thomson Consumer Electronics, Inc., is now known as Technicolor USA, Inc., and that it is a

 3   Delaware corporation with its principal place of business located at 1033 N. Meridian Street,

 4   Indianapolis, Indiana 47290-1024. Thomson SA admits that Thomson Consumer is wholly owned

 5   by Thomson SA, admits that Thomson Consumer had manufacturing plants in Scranton,

 6   Pennsylvania and Marion, Indiana during portions of the Relevant Period, but denies that Thomson

 7   Consumer directly owned CRT manufacturing plants in Mexicali, Mexico. Thomson SA admits

 8   that Thomson Consumer sold CPTs for use in CRT televisions to television manufacturers in North

 9   America during the portions of the Relevant Period, but denies the remaining allegations in the first

10   through fourth sentences. To the extent that the allegations in sentences five through ten purport to

11   characterize a written document, Thomson SA denies that Plaintiffs accurately or completely

12   interpreted, characterized, or stated the substance or context of the written document, and therefore

13   denies those allegations except as expressly admitted herein. With regard to the fifth sentence,

14   Thomson SA admits that Thomson Consumer’s CRT business was sold to Videocon Industries, Ltd.

15   in 2005. With regard to the allegation in the sixth sentence, Thomson SA incorporates by reference

16   its responses to the identical allegations in Paragraph 55. Thomson SA states that the seventh

17   sentence is vague in regards to timeframe and denies the allegations in that sentence, except that it

18   admits that Thomson Displays America LLC was wholly owned by Thomson Consumer before it

19   was transferred to Videocon in July 2005. With regard to the eighth sentence, Thomson SA admits

20   that Thomson Consumer changed its name to Technicolor USA, Inc. in or about June 2010. With

21   regard to the ninth sentence, Thomson SA admits that prior to the sale of its CRT business in 2005,

22   Thomson Consumer manufactured, marketed, sold, or distributed CPT Products in the United

23   States, but otherwise denies the allegations in that sentence. Thomson SA denies the remaining

24   allegations of Paragraph 56 in their entirety.

25           10.     To the extent that the allegations in Paragraph 57 relate to persons or entities other

26   than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to

27   their truth and therefore denies them, except that it admits that TCL Thomson was a joint venture

28   formed between Thomson SA and TCL International Holdings Ltd. Thomson SA ceased any
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 1   ownership or interest in TCL Thomson in 2010. Thomson SA denies that it manufactured,

 2   marketed, sold, or distributed CRT Products in the United States. Thomson SA denies any

 3   remaining allegations in Paragraph 57.

 4           11.    With regard to the allegations in Paragraph 58, to the extent these allegations state

 5   legal contentions, no response is required. With regard to the allegations in sentence one, Thomson

 6   SA admits that it had sufficient minimum contacts with the United States during the Relevant

 7   Period to be subject to specific personal jurisdiction in the United States with respect to this action

 8   only. Thomson SA denies the allegations in sentences two through eight in their entirety. To the

 9   extent that the allegations in sentences nine through fourteen purport to characterize written

10   documents, Thomson SA denies that Plaintiffs accurately or completely interpreted, characterized,

11   or stated the substance or context of the written documents and therefore denies those allegations.

12   Thomson SA admits that the employees listed in sentences twelve and thirteen worked for Thomson

13   SA and/or Thomson Consumer during the Relevant Period, but denies that the characterizations of

14   employee titles, roles, and employment dates are accurate or complete and therefore denies these

15   allegations. Thomson SA further denies the allegations contained in sentence fourteen because the

16   term "stationed" is ambiguous and the allegations are vague as to time. Thomson SA denies any

17   remaining allegations in Paragraph 58.

18           12.    With regard to the allegations in Paragraphs 133 and 135 of Plaintiffs Complaint,

19   Thomson SA admits that the allegations quote parts of its Annual Reports, but denies any emphasis

20   or alterations in the quoted text, denies that it admitted to any wrongdoing in its Annual Reports,

21   and denies that Plaintiff has accurately or completely interpreted, characterized, or stated the

22   substance or context of the quoted statements. Thomson SA denies any remaining allegations in

23   Paragraphs 133 and 135.

24           13.    With regard to the allegations in Paragraph 134 of Plaintiffs Complaint, Thomson

25   SA states that the use of the term "Thomson" renders these paragraphs vague and uncertain as to

26   Thomson SA. To the extent that the allegations purport to characterize written documents,

27   Thomson SA denies that Plaintiff has accurately or completely interpreted, characterized, or stated

28   the substance or context of the written documents and therefore denies those allegations. Thomson
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 1   SA admits that the European Commission investigated CRT price-fixing and levied fines against

 2   various companies, including a fine of 38,631,000 million against Thomson SA in 2012 and that

 3   its fine was reduced due to Thomson SA’s cooperation and inability to pay, but denies that any

 4   allegations, conduct, or cooperation in Europe support in any way Plaintiff’s allegations that

 5   Thomson SA violated United States antitrust laws or that alleged conduct in Europe had any

 6   relation to the United States CRT market. Thomson SA denies any and all remaining allegations in

 7   Paragraph 134.

 8           14.      With regard to the allegations in Paragraph 136 of Plaintiff’s Complaint, Thomson

 9   SA states that any references to "Thomson" are vague and ambiguous. Thomson SA further states

10   that the expression "conspiracy period" is undefined and thus vague and ambiguous. Thomson SA

11   interprets "conspiracy period" to be synonymous with "Relevant Period" and admits solely that it

12   retained at least a de minimis ownership interest in Videocon between 2005 and the end of the

13   allegedly Relevant Period, with regard to which Thomson SA incorporates by reference its

14   responses to sentences six and ten of Paragraph 55. Thomson SA denies that it participated in the

15   alleged conspiracy, and denies that any of the allegations in Paragraph 136 concerning Thomson

16   SA’s agreement with and continued interest in Videocon support in any way Plaintiffs’ allegations

17   that Thomson SA violated any laws. To the extent that the remaining allegations relate to persons

18   or entities other than Thomson SA, Thomson SA lacks knowledge or information sufficient to form

19   a belief as to their truth and therefore denies them. To the extent that the remaining allegations

20   relate to Thomson SA, Thomson SA denies these allegations. To the extent that the allegations

21   purport to characterize written documents and deposition testimony, Thomson SA denies that

22   Plaintiff has accurately or completely interpreted, characterized, or stated the substance or context

23   of the written documents and therefore denies those allegations. Thomson SA denies that it

24   engaged in, or conspired with others to engage in, any violations of United States antitrust laws.

25   Thomson SA further denies that the alleged actions of individuals in Paragraph 136 would, if

26   proven, be imputable to Thomson SA and that they relate to the sale of CRTs in the United States.

27          15.       To the extent that the allegations in Paragraph 137 relate to persons or entities other

28   than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to
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 1   their truth and therefore denies them. To the extent that the allegations in Paragraph 137 purport to

 2   characterize written documents and deposition testimony, Thomson SA denies that Plaintiff has

 3   accurately or completely interpreted, characterized, or stated the substance or context of the written

 4   documents and deposition testimony and therefore denies those allegations. To the extent that the

 5   remaining allegations in Paragraph 137 relate to Thomson SA, Thomson SA denies these

 6   allegations.

 7           16.    With regard to the allegations in Paragraph 138, Thomson SA states that the use of

 8   the term "Thomson" renders the allegations vague and uncertain as to Thomson SA. To the extent

 9   that the allegations relate to persons or entities other than Thomson SA, Thomson SA lacks

10   knowledge or information sufficient to form a belief as to their truth and therefore denies them.

11   With respect to the allegations contained in the sixth sentence, Thomson SA admits that Didier

12   Trutt received and occupied a seat on Videocon’s board until 2009, but denies the remaining

13   allegations in the sixth sentence. To the extent that the remaining allegations in Paragraph 138

14   relate to Thomson SA, Thomson SA denies these allegations. Thomson SA denies that any of the

15   allegations in Paragraph 138 concerning Thomson SA’s agreement with and continued interest in

16   Videocon support in any way Plaintiff’s allegations that Thomson SA violated any laws. With

17   regard to the final sentence of Paragraph 138, Thomson SA further states that the expression

18   "conspiracy period" is undefined and thus vague and ambiguous. Thomson SA interprets

19   "conspiracy period" to be synonymous with "Relevant Period" and admits solely that it retained at

20   least a de minimis ownership interest in Videocon between 2005 and the end of the allegedly

21   Relevant Period and incorporates by reference its responses to sentences six and ten of Paragraph

22   55.

23           17.    With regard to the allegations in Paragraph 139, Thomson SA states that the use of

24   the term "Thomson" renders the allegations vague and uncertain as to Thomson SA. Thomson SA

25   lacks knowledge or information sufficient to form a belief about the truth of the allegations in the

26   first sentence of Paragraph 139. With regard to the second sentence, Thomson SA admits that

27   Thomson Consumer transferred its CRT assets to TDA as a capital contribution in 2005 in

28   connection with the sale of its CRT business to Videocon; despite diligent and ongoing searches for
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 1   relevant records, however, Thomson SA lacks knowledge or information sufficient to form a belief

 2   about the truth of the remaining allegations regarding the details of the alleged "period of

 3   cooperation and transition" denies the remaining allegations in that sentence. Thomson SA admits

 4   that after Videocon acquired Thomson Consumer’s CRT assets in September 2005, Brunk

 5   transitioned to work for TDA. Thomson SA further admits that Hanrahan’s employment with

 6   Thomson Consumer ended in February 2012, but denies that he transitioned to work for IDA.

 7   Thomson SA denies that Brunk and Hanrahan attended conspiracy meetings on behalf of Thomson

 8   Consumer or Thomson SA. To the extent that the remaining allegations relate to persons or entities

 9   other than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as

10   to their truth and therefore denies them. To the extent that the remaining allegations relate to

11   Thomson SA, Thomson SA denies these allegations. Thomson SA denies that any of the

12   allegations in Paragraph 139 concerning Thomson Consumer’s agreement with TDA support in any

13   way Plaintiffs’ allegations that Thomson SA violated any laws. Thomson SA denies any remaining

14   allegations in Paragraph 139.

15          18.     With regard to the allegations in Paragraphs   175 and 183 of Plaintiffs’ Complaint,

16   Thomson SA states that the use of the term "Thomson" renders these paragraphs vague and

17   uncertain as to Thomson SA and therefore denies such allegations to the extent not expressly

18   admitted herein. Thomson SA admits that the European Commission opened an investigation but

19   lacks knowledge or information sufficient to form a belief as to the truth of the remaining

20   allegations regarding the scope or timing of the investigations and therefore denies them. Thomson

21   SA admits that the European Commission alleged that several companies, including Thomson SA,

22   engaged in anticompetitive conduct in Europe and levied a fine of 38,631,000 million against

23   Thomson SA in 2012, but denies that the European Commission’s investigation or allegations in

24   Europe support in any way Plaintiffs’ allegations that Thomson SA violated any United States

25   antitrust laws or that alleged conduct in Europe had any relation to the United States CRT market.

26   Thomson SA denies any remaining allegations in Paragraphs 175 and 183.

27          19.     To the extent Paragraph 228 consists of legal contentions, no response is required.

28   To the extent that Paragraph 228 purports to characterize a written document, Thomson SA denies
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 1   that Plaintiffs accurately or completely interpreted, characterized, or stated the substance or context

 2   of the written document and therefore denies the allegations in Paragraph 226. Thomson SA further

 3   states that any references to "Thomson" are vague and ambiguous and therefore denies such

 4   allegations to the extent not expressly admitted herein. Thomson SA further denies that it

 5   participated in any conspiracy to violate antitrust laws or engaged in any efforts to conceal such a

 6   conspiracy. Thomson SA denies any remaining allegations in Paragraph 228.

 7           20.     With regard to Paragraph 240 Thomson SA incorporates by reference all of the

 8   above responses and statements.

 9

10           Without assuming any burden it would not otherwise bear, and reserving its right to amend

11   its Answer to assert additional defenses as they may become known during discovery, Thomson SA

12   asserts the following separate, additional and/or affirmative defenses:

13                                                 FIRST DEFENSE

14                                           (Failure to State a Claim)

15           The Complaint fails to state a claim upon which relief can be granted.

16                                                SECOND DEFENSE

17                                            (Statute of Limitations)

18           Plaintiffs claims should be dismissed to the extent that they are barred, in whole or in part,

19   by the applicable statutes of limitations.

20                                                THIRD DEFENSE

21                                (Failure to Plead Fraud With Particularity)

22           The statutes of limitations are not tolled because Plaintiff has failed to plead fraudulent

23   concealment with the particularity required by Rule 9(b) of the Federal Rules of Civil Procedure.

24                                                FOURTH DEFENSE

25                             (Failure to Plead Conspiracy With Particularity)

’S           Plaintiffs claims are barred in whole or part because the Complaint fails to plead conspiracy

27   with particularity required under applicable law.


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 I                                             FIFTH DEFENSE

 2                                                (Withdrawal)

 3          Plaintiff’s claims are barred, in whole or in part, by reason of Thomson SA’s withdrawal

 4   from or abandonment of any alleged conspiracy.

 5                                             SIXTH DEFENSE

 6                                  (Lack of Subject-Matter Jurisdiction)

 7          This Court lacks subject-matter jurisdiction over Plaintiff’s claims pursuant to, but not

 8   limited to, the Foreign Trade Antitrust Improvements Act, and because the conduct alleged to

 9   provide a basis for Plaintiff’s claims did not have a direct, substantial, and reasonably foreseeable

10   effect on trade or commerce within the United States.

11                                           SEVENTH DEFENSE

12                                                   (Laches)

13          Plaintiff’s claims are barred, in whole or in part, under the doctrine of laches.

14                                            EIGHTH DEFENSE

15                                  (Estoppel, Waiver, or Unclean Hands)

16          Plaintiff’s claims are barred, in whole or in part, under the doctrines of estoppel, waiver,

17   and/or unclean hands.

18                                             NINTH DEFENSE

19                                         (Reasonable Justification)

20          Plaintiff’s claims are barred, in whole or in part, because all of the actions of Thomson SA

21   being challenged by Plaintiff were lawful, justified, procompetitive, constitute bona fide business

22   competition, and were carried out in furtherance of Thomson SA’s legitimate business interests.

23                                            TENTH DEFENSE

24                                               (Acquiescence)

25          Plaintiff’s claims are barred, in whole or in part, by reason of Plaintiff’s acquiescence to the

26   conduct of Thomson SA.

27

28
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                                            ELEVENTH DEFENSE

 2                             (Accord and Satisfaction, Release and Settlement)

 3           Plaintiffs claims are barred, in whole or in part, by the doctrines of accord and satisfaction,

 4   release and settlement.

 5                                           TWELFTH DEFENSE

 6                                 (Government Privilege/Non-Actionable)

 7           Plaintiffs claims are barred, in whole or in part, because the conduct of Thomson SA

 8   alleged in the Complaint was caused by, due to, based upon, or in response to directives, laws,

 9   regulations, policies, and/or acts of governments, governmental agencies and entities, and/or

10   regulatory agencies, and as such is non-actionable or privileged.

11                                         THIRTEENTH DEFENSE

12                                             (Lack of Standing)

13           Plaintiffs claims are barred, in whole or in part, because Plaintiff lacks standing to bring the

14   claims asserted in the Complaint.

15                                        FOURTEENTH DEFENSE

16                                                 (Ultra Vires)

17           Plaintiffs claims are barred, in whole or in part, because, to the extent that any employee or

18   agent of Thomson SA engaged in any unlawful act or omission, any such act or omission would

19   have been committed by individuals acting ultra vires.

20                                          FIFTEENTH DEFENSE

21                                            (Intervening Causes)

22           Plaintiffs claims are barred, in whole or in part, because Plaintiffs alleged injuries, if any,

23   stemmed from intervening or superseding causes.

24                                          SIXTEENTH DEFENSE

25                                         (Lack of Antitrust Injury)

26           Plaintiffs claims are barred, in whole or in part, because Plaintiff has not suffered an

27   antitrust injury.

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 1                                          SEVENTEENTH DEFENSE

 2                                           (No Act of Thomson SA)

 3           Plaintiff’s claims are barred, in whole or in part, because Plaintiff has not been injured in

 4   their business or property by reason of any action of Thomson SA.

 5                                          EIGHTEENTH DEFENSE

 6                                            (Speculative Damages)

 7           Plaintiffs claims are barred, in whole or in part, because Plaintiffs alleged damages, if any,

 8   are speculative and because of the impossibility of the ascertainment and allocation of such alleged

 9   damages.

10                                          NINETEENTH DEFENSE

11                                       (Failure to Mitigate Damages)

12           Plaintiffs claims are barred from recovery of damages, in whole or in part, because of and

13   to the extent of Plaintiffs failure to mitigate damages.

14                                           TWENTIETH DEFENSE

15                                               (Pass Through)

16           Plaintiffs claims for an illegal overcharge are barred, in whole or in part, to the extent that

17   such overcharge was absorbed, in whole or in part, by others, and was not passed through to

18   Plaintiff.

19                                          TWENTY-FIRST DEFENSE

20                                          (Available Remedy at Law)

21           Plaintiffs claims or causes of action for injunction or other equitable relief are barred, in

22   whole or in part, because Plaintiff has available an adequate remedy at law.

23                                      TWENTY-SECOND DEFENSE

24                                 (Lack of Standing for Prospective Relief)

25           Plaintiffs claims or causes of action are barred, in whole or in part, because Plaintiff seeks

26   to enjoin alleged events that have already transpired and without the requisite showing of threatened

27   future harm or continuing violation.

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                                         TWENTY-THIRD DEFENSE

 2                                                 (Vagueness)

 3          Plaintiffs claims should be dismissed for uncertainty and vagueness and because its claims

 4   are ambiguous or unintelligible. Plaintiff does not describe the events or legal theories with

 5   sufficient particularity to permit Thomson SA to ascertain what other defenses may exist.

 6                                      TWENTY-FOURTH DEFENSE

 7                                             (Unjust Enrichment)

 8           Plaintiffs claims are barred, in whole or in part, because Plaintiff would be unjustly

 9   enriched if they were allowed to recover any part of the damages alleged in the Complaint.

10                                       TWENTY-FIFTH DEFENSE

11                                                 (Restitution)

12           Plaintiffs claims are barred from recovery of damages, in whole or in part, to the extent that

13   any restitution or award of damages to Plaintiff would be excessive and punitive, and

14   disproportionate to any alleged injury suffered by Plaintiff.

15                                       TWENTY-SIXTH DEFENSE

16                                             (Comparative Fault)

17           Plaintiffs claims are barred, in whole or in part, to the extent the injuries alleged in the

18   Complaint were directly and proximately caused by or contributed to by the statements, acts, or

19   omissions of Plaintiff or third persons or entities unaffiliated with Thomson SA.

20                                     TWENTY-SEVENTH DEFENSE

21                                   (Res Judicata or Collateral Estoppel)

22           Plaintiffs claims are barred, in whole or in part, by the doctrines of res judicata or collateral

23   estoppel.

24                                      TWENTY-EIGHTH DEFENSE

25                               (Foreign Trade Antitrust Improvements Act)

26           Plaintiffs claims are barred, in whole or in part, because Plaintiff has failed to allege facts

27   sufficient to support a claim under the Foreign Trade Antitrust Improvements Act, 15 U.S.C. § 6a.

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 1                                       TWENTY-NINTH DEFENSE

 2                                                (Foreign Sales)

 3           Plaintiff’s claims are barred, in whole or in part, to the extent Plaintiff seeks to recover

 4   damages, if any, based on sales outside of the United States.

 5                                          THIRTIETH DEFENSE

 6                                             (Improper Joinder)

 7           Plaintiff’s claims are barred, in whole or in part, because Plaintiff’s claims are improperly

 8   joined within the meaning of Rule 20 of the Federal Rules of Civil Procedure because they did not

 9   arise out of the same transaction, occurrence, or series of transactions or occurrences and do not

10   involve questions of law or fact common to all defendants.

11                                        THIRTY-FIRST DEFENSE

12                                       (Failure to Exhaust Remedies)

13           Plaintiff’s claims are barred, in whole or in part, because Plaintiff failed to exhaust all

14   remedies against the parties with whom Plaintiff is in privity.

15                                      THIRTY-SECOND DEFENSE

16                                          (No Multiple Recoveries)

17           Plaintiff’s claims are barred, in whole or in part, to the extent they would result in Thomson

18   SA paying damages to more than one claimant for the same alleged overcharge, because such

19   multiple recoveries would violate rights guaranteed to the Thomson SA by applicable states’ laws

20   and the United States Constitution, including, without limitation, rights guaranteed under the Due

21   Process Clause of the Fourteenth Amendment.

22                                        THIRTY-THIRD DEFENSE

23                                       (Voluntary Payment Doctrine)

24           Plaintiff’s claims are barred, in whole or in part, by the voluntary payment doctrine, under

25   which Plaintiff is not entitled to recover payments made with full knowledge of the facts.

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 1                                        THIRTY-FOURTH DEFENSE

 2                                                     (Set Off)

 3             Without admitting that Plaintiff is entitled to recover damages from Thomson SA in this

 4   matter, Thomson SA is entitled to set off from any recovery Plaintiff obtains against Thomson SA

 5   any amount paid to under settlements with other defendants in this or related matters.

 6                                          THIRTY-FIFTH DEFENSE

 7                                                    (Privilege)

 8             Plaintiff’s claims should be dismissed to the extent that they are barred, in whole or in part,

 9   because any action taken by or on behalf of Thomson SA was justified, constituted bona fide

10   business competition, and was taken in pursuit of its own legitimate business and economic interests

11   and is therefore privileged.

12                                          THIRTY-SIXTH DEFENSE

13                                          (Noerr-Pennington Doctrine)

14             Plaintiff’s claims should be dismissed to the extent that they are barred, in whole or in part,

15   by the doctrine of Noerr-Pennington.

16                                        THIRTY-SEVENTH DEFENSE

17                                            (Forum Non Conveniens)

18             The Complaint should be dismissed on the grounds of forum non conveniens to the extent

19   the claims are governed by the laws of foreign states.

20                                         THIRTY-EIGHTH DEFENSE

21                                                (Improper Venue)

22             Plaintiff’s claims are barred, in whole or in part, because venue does not lie in this Court.

23                                          THIRTY-NINTH DEFENSE

24                                        (Improper Forum/Arbitration)

25             Plaintiff’s claims should be dismissed to the extent that they are barred, in whole or in part,

26   because Plaintiff has agreed to arbitration or chose a different forum for the resolution of their

27   claims.

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 1                                             FORTIETH DEFENSE

 2                                                (Intervening Conduct)

 3              Plaintiffs claims should be dismissed to the extent that they are barred, in whole or in part,

 4   because any alleged injuries and damages were not legally or proximately caused by any acts or

 5   omissions of Thomson SA or were caused, if at all, solely and proximately by the conduct of third

 6   parties, including, without limitations, the prior, intervening, or superseding conduct of such third

 7   parties.

 8                                           FORTY-FIRST DEFENSE

 9                                                (Indispensable Parties)

10              Plaintiffs claims should be dismissed to the extent that they are barred, in whole or in part,

11   for failure to join indispensable parties.

12                                         FORTY-SECOND DEFENSE

13                                     (Incorporation of Defenses of Others)

14              Thomson SA adopts by reference any applicable defense pleaded by any other defendant not

15   otherwise expressly set forth herein.

16                                           FORTY-THIRD DEFENSE

17                                        (Reservation of Other Defenses)

18              Thomson SA reserves the right to assert other defenses as this action proceeds up to and

19   including the time of trial.

20                                  THOMSON SA’S PRAYER FOR RELIEF

21              WHEREFORE, Thomson SA prays for judgment as follows:

22              1.     That Plaintiff takes nothing by reason of the Complaint, and that the action be

23   dismissed with prejudice,

24              2.     That the Court enter judgment in favor of Thomson SA and against Plaintiff with

25   respect to all causes of action in the Complaint,

26              3.     That the Court award Thomson SA its attorneys’ fees and other costs reasonably

27   incurred in the defense of this action, and

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 I          4.      That the Court award Thomson SA such other and further relief as the Court may

 2   deem just and proper.

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 1   Dated: January_, 2015                 Respectfully submitted,
 2

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